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               Exhibit C
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                                CAUSE NO. 24-DCV-313877

  NORTH AMERICA MACHINERY                       §              IN THE DISTRICT COURT
  LLC,                                          §
              Plaintiff,                        §
                                                §
  VS.                                           §          FORT BEND COUNTY, TEXAS
                                                §
  SPEAK2VOICE LLC and RAHIM                     §
  RAJWANI                                       §                400th JUDICIAL DISTRICT
            Defendants.


                         DEFENDANTS’ NOTICE OF FILING
                      NOTICE OF REMOVAL TO FEDERAL COURT


        Defendant SPEAK2VOICE LLC and RAHIM RAJWANI file this Notice of Filing of

Removal to Federal Court, giving notice that on this date, Cause No. 24-DCV-313877 is being

removed from the 400th Judicial District Court of Fort bend County, Texas to the United States

District Court of Southern District Texas, Houston Division. A copy of the Notice of Removal is

attached.

                                                          RESPECTFULLY SUBMITTED,

                                                          GK LAW, PLLC
                                                          /S/ Gagan Khan
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                                                          COUNSEL FOR DEFENDANTS
   Case 4:24-cv-01527         Document 1-4       Filed on 04/25/24 in TXSD          Page 3 of 3




                                  CERTIFICATE OF SERVICE


       I certify that on April __, 2024, a true and correct copy of this pleading was served upon all
counsel and/or parties of record in accordance with the Texas Rules of Civil Procedure.


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                                                                      /S/ GAGAN KHAN
                                                                      GAGAN KHAN
